                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF WISCONSIN
                                     GREEN BAY DIVISION


TIMOTHY J. FAST,
on behalf of himself and
all others similarly situated

                Plaintiff,                                       Case No. 16-cv-1347

        v.

CASH DEPOT, LTD.

                Defendant.


                  PLAINTIFF’S BRIEF IN SUPPORT OF HIS MOTION FOR
                           ATTORNEYS’ FEES AND COSTS


        This case was brought pursuant to the Fair Labor Standards Act of 1938, as amended, 29

U.S.C. § 201 et. seq. (“FLSA”), and Wisconsin’s Wage Payment and Collection Laws

(“WWPCL”) by Plaintiff, Timothy J. Fast, on behalf of himself and all others similarly situated,

alleging that Defendant, Cash Depot, Ltd., failed to compensate him and all other, similarly-

situated Field Service Technicians at an overtime rate of pay for all hours worked in excess of

forty (40) hours in a workweek, and improperly calculated his and others’ “regular rate” of pay,

as that phrase is used under the FLSA, when determining the overtime rate of pay to be used for

compensating him and others for all hours worked in excess of forty (40) hours in a workweek.

        With respect to Plaintiff’s claim that Defendant failed to compensate him and other

similarly-situated Field Service Technicians, Plaintiff specifically alleged that Defendant failed

to properly calculate overtime on a workweek-basis and to compensate them for work performed

“on call” that was less than fifteen (15) minutes in duration.


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       With respect to Plaintiff’s claim that Defendant improperly calculated Plaintiff’s and

others’ “regular rate” of pay, Plaintiff specifically alleged that Defendant failed to account for

shift premiums, non-discretionary bonuses, and a flat rate or lump sum of $75.00 per week for

each workweek in which a Field Technician was “on call,” when determining the overtime rate

of pay to be used for compensating him and others for all hours worked in excess of forty (40)

hours in a workweek.

       Ultimately, as a result of Plaintiff’s counsel’s efforts via this lawsuit and during the

course of the litigation in this matter, Defendant compensated Plaintiff and all others similarly

situated in the putative class/collective with monetary payments representative of wages owed,

including at an overtime rate of pay. (Declaration of James A. Walcheske (“Walcheske Decl.”),

¶¶ 13, 25.) Continued litigation ensued, including Defendant’s filing of Motions to Lift the

Temporary Stay of Proceedings, (ECF No. 16), to Dismiss on Mootness Grounds, (ECF No. 17),

and for Summary Judgment, (ECF No. 22), against Plaintiff.

       On November 7, 2017, the Court entered its Decision and Order on said Motions.

Therein, the Court stated, in part:

               Cash Depot contends that once it recognized its mistake, it
               recalculated the overtime pay for all of its current and past
               employees for the three-year period prior to the filing of Fast’s
               action, both exempt and non-exempt, and has paid them the
               difference in order to make them whole as well. If that is true, then
               it would appear that Cash Depot has a strong argument that any
               motion by Fast to conditionally certify a class should be denied.
               But because discovery has been stayed, Fast is not in a position to
               dispute Cash Depot’s evidence on this issue. Once the stay is lift,
               both parties should be able to quickly assess their respective
               positions and determine where, if at all, any dispute still exists.

               If, as Cash Depot contends, it has cured its prior FLSA violations
               by paying what it owed its current and former employees, this case
               should promptly resolve with little additional expense to either
               party.

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(Decision and Order, ECF No. 43, p. 13.)

       Once the stay was lifted, the parties conferred and ultimately exchanged additional

information in December 2017. (Walcheske Decl., ¶ 22.) Specifically, Plaintiff agreed to and did

provide Defendant with Plaintiff’s Amended Answers to Defendant’s [Second Set] of

Interrogatories and Requests to Produce Documents, specifically amending his answers to

Interrogatory Nos. 1 and 2 therein, which requested a detailed accounting of Plaintiff’s attorneys’

fees and costs. (Id. at ¶¶ 22-24, Exhibit A.) For its part, Defendant agreed to and did provide

Plaintiff with documents setting forth all wage calculations performed by Schenck for all of

Defendant’s employees for the time frame of December 2013 through February 2017. (Id. at

¶ 22.) Defendant’s production exceeded two hundred (200) pages in length. (Id.)

       On February 2, 2018, and having had an opportunity to review each other’s additional

information, the parties conferred once again. (Id. at ¶ 25.) Therein, Plaintiff’s counsel stated his

belief, based on his review of Defendant’s documents, that Defendant had paid all wages owed

to its employees resulting from its FLSA violations. (Id.) Plaintiff’s counsel further indicated that

the only outstanding issue was reimbursement of Plaintiff’s attorneys’ fees and costs as set forth

in Plaintiff’s Amended Answers to Defendant’s [Second Set] of Interrogatories and Requests to

Produce Documents. (Id. at ¶ 25, Exhibit B.) Plaintiff’s counsel stated that, assuming Defendant

reimbursed said attorneys’ fees and costs, the case “would be done” or words to that effect. (Id.

at ¶ 25.) Defendant’s counsel expressed reluctance, but indicated he would discuss the matter

with Defendant. (Id.)

       On February 14, 2018, and having not received any response from Defendant on whether

it intended to reimburse Plaintiff’s attorneys’ fees and costs, Plaintiff’s counsel emailed




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Defendant counsel seeking an update regarding the same. (Id. at ¶ 26.) Defendant never

responded. (Id.)

       Because of Plaintiff’s counsel’s efforts, Plaintiff achieved substantial success in this

matter and is considered a prevailing party, entitling him to reimbursement of reasonable

attorneys’ fees and costs expended in the litigation.

       For the reasons set forth herein, Plaintiff requests: reimbursement of reasonable

attorneys’ fees for time spent litigating the merits of this matter in the amount of $49,730.00;

reimbursement of reasonable costs incurred in litigating this matter in the amount of $407.04;

and $2,695.00 in attorneys’ fees, representing 7.7 hours of work for time spent preparing this

Motion and supporting Brief and Declarations.

                                          ARGUMENT

       Under the FLSA, successful Plaintiffs are entitled to reimbursement for their attorneys’

fees and costs. 29 U.S.C. § 216(b). Generally, courts undertake a three-part analysis when

deciding motions for attorneys’ fees and costs in FLSA cases: (1) determining whether the

Plaintiff was a “prevailing party”; (2) determining the “lodestar” amount (i.e., the total amount of

reasonable fees expended) by multiplying the reasonable hourly rate(s) by the number of hours

reasonably expended; and (3) determining whether the “lodestar” amount should be increased or

decreased based on a variety factors, such as the plaintiff’s degree of success obtained, the

complexity of the case, and the public interest advanced by the litigation. See, e.g., Hensley v.

Eckerhart, 461 U.S. 424, 433, 436 (1983); Schlacher v. Law Offices of Phillip J. Rotche Assocs.,

574 F.3d 852, 856-57 (7th Cir. 2009); Connolly v. Nat’l Sch. Bus Serv., Inc., 177 F.3d 593, 595-

97 (7th Cir.1999); Spegon v. Catholic Bishop of Chicago, 175 F.3d 544, 550 (7th Cir. 1999);

Strange v. Monogram Credit Card Bank of Ga., 129 F.3d 943, 946 (7th Cir. 1997); Bankston v.



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Illinois, 60 F.3d 1249, 1255 (7th Cir. 1995); Garcia v. Oasis Legal Fin. Operating Co., 608 F.

Supp. 2d 975, 977–78 (N.D. Ill. 2009).

       While an award of attorneys’ fees and costs in FLSA cases is mandatory, a district court

has “wide latitude” in determining the amount of the fees and costs. Uphoff v. Elegant Bath, Ltd.,

176 F.3d 399, 406 (7th Cir. 1999); Strange v. Monogram Credit Card Bank of Ga., 129 F.3d

943, 945 (7th Cir.1997); Bankston v. State of Ill., 60 F.3d 1249, 1254 (7th Cir.1995). The district

court “is in the best position to determine the worth of the attorneys practicing before him.”

Uphoff, 176 F.3d at 407.

       For the reasons stated below, Plaintiff was a prevailing party in this matter, and the

amount of attorneys’ fees and costs she seeks is reasonable and should be awarded to Plaintiff’s

counsel by this Court.

I.     PLAINTIFF WAS A PREVAILING PARTY IN THIS CASE

       A “prevailing party” is a plaintiff who has “succeed[ed] on any significant issue in

litigation which achieves some of the benefit the parties sought in bringing suit,” Hensley, 461

U.S. at 433. A “prevailing party” is also a plaintiff who has “achieved some success on the

merits and can point to a resolution that has changed the legal relationship between herself and

defendant.” Connolly, 177 F.3d at 595 (citing Farrar v. Hobby, 506 U.S. 103 (1992); Hewitt v.

Helms, 482 U.S. 755 (1987)).

       A plaintiff who favorably settles his or her case is considered a prevailing party under the

FLSA. See 29 U.S.C. § 216(b); Connolly, 177 F.3d at 595; Small v. Richard Wolf Med.

Instruments Corp., 264 F.3d 702, 707 (7th Cir. 2001); Batt v. Micro Warehouse, Inc., 241 F.3d

891, 893 (7th Cir. 2001). A case is favorably settled for a plaintiff if he or she recovers a portion




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of the damages alleged or if “the lawsuit was causally linked to the relief obtained.” Connolly,

177 F.3d at 595; Fisher v. Kelly, 105 F.3d 350, 353 (7th Cir.1997).

       Here, Plaintiff was a prevailing party. Plaintiff alleged and Defendant ultimately

conceded that Defendant violated the FLSA by failing to factor-in on-call and shift premiums

and non-discretionary bonuses when determining its employees’ “regular rate” for purposes of

determining each employee’s proper overtime rate of pay for all hours worked in excess of forty

(40) hours in a workweek. (See Declaration of Amy Bradley (“Bradley Decl.”), ECF No. 20,

¶ 12; see also Declaration of Jodi Arndt Labs (“Labs Decl.”), ECF No. 21, ¶ 4.) Indeed, as well-

stated in the Declaration of Amy Bradley:

               During our audit, we verified that Cash Depot did not factor the
               on-call premiums into the ‘regular rate’ of pay when determining
               how much overtime it owed to the Plaintiff and other field service
               technicians. We also verified that Cash Depot did not factor shift
               premiums or non-discretionary bonuses into the ‘regular rate’ of
               pay and, therefore, failed to pay overtime on such payments.

(Bradley Decl., ECF No. 20, ¶ 12.)

       As a result of these conceded violations, Defendant determined Plaintiff was owed a total

of $380.76 and provided him with a check in that amount (less tax withholdings). (Id. at ¶¶ 16-

20; Defendant’s Brief Supporting Motion to Dismiss (“Motion to Dismiss”), ECF No. 18, p. 2.)

Defendant further determined that it owed its former and current employees a total of $21,986.47

(including Plaintiff). (Bradley Decl., ¶ 24; Motion to Dismiss, ECF No. 18, p. 2.) In discovery,

Defendant represented that said amount “represents the potential amount that would have been in

controversy if Plaintiff were to be successful in certifying this matter as a class action.”

(Walcheske Decl., ¶ 13; Defendant’s Responses to Plaintiff’s First Set of Interrogatories and

Requests for Production of Documents (“Def. Disc. Resp.”), ECF No. 35-1, Response to

Interrogatory Number (“Int. Resp. No.”) 1.) Having been provided with documents

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demonstrating Defendant’s calculations and amounts paid, Plaintiff agrees that Defendant did

compensate its current and former employees with said amount as remuneration for wages owed

pursuant to the FLSA. (See Walcheske Decl., ¶ 23.)

        Thus, Plaintiff is a prevailing party in this case because he succeeded in obtaining all

wages owed to not only himself, but to all to all putative collective members on whose behalf he

brought his claim. Thus, the only issue to be decided by this Court is the reasonable attorneys’

fees and costs to be awarded to Plaintiff.

II.     USING THE LODESTAR METHOD, PLAINTIFF’S ATTORNEYS’ FEES OF
        $49,730.00 AND COSTS OF $407.04 ARE REASONABLE

        When a plaintiff is a prevailing party, and thus entitled to reimbursement for attorneys’

fees and costs under 29 U.S.C. § 216(b), courts determine the “lodestar” amount by calculating

the reasonable hourly rate multiplied by the hours reasonably expended. 1 Hensley, 461 U.S. at

433-37; Johnson v. GDF, Inc., 668 F.3d 927, 929 (7th Cir. 2012); Pickett v. Sheridan Health

Care, 664 F.3d 632, 640–43 (7th Cir. 2011); Gautreaux v. Chi. Hous. Auth., 491 F.3d 649, 659

(7th Cir. 2007); Uphoff, 176 F.3d at 407; Bankston v. Illinois, 60 F.3d at 1255.

        A.       Plaintiff’s Counsel’s Hourly Rate of $350.00 Is Reasonable.

        A “reasonable” hourly rate reflects the “market rate” for the attorney’s services. Pickett,

664 F.3d at 640; Denius v. Dunlap, 330 F.3d 919, 930 (7th Cir. 2003); People Who Care v.

Rockford Bd. of Educ., Sch. Dist. No. 205, 90 F.3d 1307, 1310 (7th Cir.1996). The market rate is

“the rate that lawyers of similar ability and experience in the community normally charge their

paying clients for the type of work in question.” Spegon, 175 F.3d at 555; McNabola v. Chicago

Transit Auth., 10 F.3d 501, 519 (7th Cir. 1993). An attorney’s actual billing rate for comparable


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  The lodestar approach forms the “centerpiece” of attorneys' fee determinations, and it applies even in cases where
the attorney represents the prevailing party pursuant to a contingent fee agreement. Blanchard v. Bergeron, 489 U.S.
87, 94 (1989); Pickett, 664 F.3d at 639.

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work or similar litigation is appropriate to use as the market rate. Pickett, 664 F.3d at 640;

Denius, 330 F.3d at 930; Small, 264 F.3d at 707; People Who Care, 90 F.3d at 1310; Uphoff, 176

F.3d at 407. Ultimately, a fee applicant need only offer third party affidavits attesting to

comparable billing rates to meet her burden. Pickett, 664 F.3d at 641; Spegon, 175 F.3d at 556.

        Here, the actual billing rates of Plaintiff’s counsel, Attorneys James A. Walcheske and

Scott S. Luzi of Walcheske & Luzi, LLC, were $350.00 per hour, and Attorneys Jesse R. Dill

and Kelly L. Temeyer of Walcheske & Luzi, LLC, were $250.00 per hour for work performed on

employment law cases, including but not limited to matters litigated under the FLSA and

WWPCL. (See Walcheske Decl., ¶¶ 8, 29, Exhibit A; Declaration of Scott S. Luzi (“Luzi

Decl.”), ¶ 7.)

        Plaintiff’s counsel’s hourly rates of $350.00 for Attorneys Walcheske and Luzi, and

$250.00 for Attorneys Dill and Temeyer, are reasonable because these rates are similar to the

rates that other attorneys of similar ability and experience in the community normally charge

their paying clients for similar services and types of work. (See Declaration of Larry A. Johnson

(“Johnson Decl.”), ¶¶ 6, 10; Declaration of Summer Hart Murshid (“Murshid Decl.”), ¶¶ 6, 10;

Declaration of Robert M. Mihelich (“Mihelich Decl.”), ¶¶ 6, 10.)

        B.       Plaintiff’s Counsel’s 139.7 Total Hours Spent Litigating The Merits Of This
                 Matter Is Reasonable.

        Plaintiff’s counsel expended a total amount of 139.7 hours litigating the merits in this

matter: 95.6 hours by Attorney Walcheske (Walcheske Decl., ¶ 27), 33.2 hours by Attorney Luzi

(Luzi Decl., ¶ 8), 7.3 hours by Attorney Dill (Walcheske Decl., ¶ 28), and 11.3 hours by

Attorney Temeyer. (Id.) Plaintiff’s counsel’s total amount of 139.7 hours litigating this matter is

detailed as follows: a total of 13.6 hours was spent reviewing initial documentation relevant to

Plaintiff’s FLSA and WWPCL claims and drafting and filing the Complaint and related initiating

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and service documentation; a total of 12.6 hours was spent researching relevant case law related

to Plaintiff’s FLSA and WWPCL claims and Defendant’s arguments; a total of 2.4 hours was

spent drafting the parties’ Rule 26(f) report, communicating with Defendant’s counsel regarding

same, and filing same with this Court; a total of 0.6 hours was spent related to the Rule 16

Scheduling Conference with this Court; a total of 25.1 hours was spent drafting Plaintiff’s Initial

Disclosures, reviewing Defendant’s Answer, reviewing Defendant’s provided documentation,

conducting damages calculations, and drafting written discovery requests to Defendant; a total of

48.0 hours was spent drafting responsive pleadings to Defendant’s Motions to Lift the

Temporary Stay of Proceedings, to Dismiss on Mootness Grounds, and for Summary Judgment;

a total of 12.0 hours was spent drafting motions and reviewing Court Orders; a total of 15.3

hours was devoted to intra-office communications; a total of 6.7 hours was spent communicating

with Plaintiff; and a total of 3.4 hours was spent communicating with Defendant’s counsel

(primarily via e-mail). (Id. at ¶ 31, Exhibit B.)

        In the Court’s Decision and Order on Defendant’s Motions dated November 7, 2017, the

Court stated, in part:

                Cash Depot contends that once it recognized its mistake, it
                recalculated the overtime pay for all of its current and past
                employees for the three-year period prior to the filing of Fast’s
                action, both exempt and non-exempt, and has paid them the
                difference in order to make them whole as well. If that is true, then
                it would appear that Cash Depot has a strong argument that any
                motion by Fast to conditionally certify a class should be denied.
                But because discovery has been stayed, Fast is not in a position to
                dispute Cash Depot’s evidence on this issue. Once the stay is lift,
                both parties should be able to quickly assess their respective
                positions and determine where, if at all, any dispute still exists.

                If, as Cash Depot contends, it has cured its prior FLSA violations
                by paying what it owed its current and former employees, this case
                should promptly resolve with little additional expense to either
                party.

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(Decision and Order, ECF No. 43, p. 13.) Notably, and pursuant to the Court’s guidance,

Plaintiff’s counsel devoted only 6.0 of its 139.7 total hours litigating the merits subsequent to the

Court rendering said Decision and Order. (See Walcheske Decl., Exhibit B.)

        Ultimately, Plaintiff’s counsel’s time spent litigating Plaintiff’s substantive FLSA and

WWPCL claims are reasonable because Plaintiff’s counsel litigated this matter as efficiently as

possible on behalf of Plaintiff given the legal issues (and defenses) presented, the vigorous

disputes involved, the uncertainty of the outcome, and the public interests advanced by the

litigation. Specifically, the amount of time Plaintiff’s counsel expended in litigating this matter

significantly contributed to Plaintiff’s success: a recovery of monetary damages sought not just

for Plaintiff, but the entire putative class/collective.

        C.      Plaintiff’s Counsel’s Costs Totaling $407.04 Incurred In This Matter Are
                Reasonable.

        In addition to incurring attorneys’ fees, Plaintiff incurred a total of $407.04 in costs. (See

id.) Specifically, Plaintiff incurred his $400.00 filing fee and a total of $7.04 in postage. Given

the amount of time and effort Plaintiff’s counsel devoted to litigating Plaintiff’s claims on behalf

of Plaintiff and the putative class/collective, Plaintiff’s counsel believes that its total costs of

$7.04 in addition to the mandatory filing fee are highly reasonable.

        D.      Plaintiff’s Counsel’s 7.7 Total Hours Spent Preparing the Attorneys’ Fees
                Motion and Brief Is Reasonable.

        Time spent preparing attorneys’ fees motions (and corresponding briefs and declarations)

is recoverable. Uphoff, 176 F.3d at 410-11; Ustrak v. Fairman, 851 F.2d 983, 988 (7th Cir.

1988); Kurowski v. Krajewski, 848 F.2d 767, 776 (7th Cir. 1988); Muscare v. Quinn, 680 F.2d 42

(7th Cir. 1982). Generally, the time is recoverable in proportion to the number of hours spent

litigating the merits of the case. Id.

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       For example, in Ustrak, the Court awarded plaintiff’s counsel about thirty-six (36) hours

for preparation of fee petition(s) when plaintiff’s counsel expended 467.10 total hours litigating

the case. 851 F.2d at 988. This ratio is approximately 7.7%. Similarly, in Kurowski, the Court

stated that the 1.6 hours of time requested for preparing the attorneys’ fees motions was “the

smallest we have ever seen for this function...,” and the Court, “commend plaintiffs’ counsel for

their parsimony.” Kurowski, 848 F.2d at 777. Finally, in Uphoff, the Court, acknowledging the

Kurowski decision, awarded plaintiff’s counsel 1.6 hours for preparation of fee petition(s) when

Plaintiff’s counsel expended approximately 100 total hours litigating the case. 851 F.2d at 988.

This ratio is approximately 1.6%.

       Here, Plaintiff’s counsel seeks 7.7 hours of time, or $2,695.00, for preparing this Motion

and corresponding briefs and declarations, which is in line and proportional to the total amount

of time Plaintiff’s counsel spent litigating the substantive matter, or 139.7 total hours. This ratio

is approximately 5.5%, and it is consistent with prior precedent as noted above.

III.   THE REASONABLE ATTORNEYS’ FEES AND COSTS SOUGHT BY
       PLAINTIFF SHOULD NOT BE ADJUSTED

       In limited circumstances, “once the lodestar amount is calculated, it may be adjusted.”

Johnson v. GDF, Inc., 668 F.3d 927, 929 (7th Cir. 2012); Pickett v. Sheridan Health Care, 664

F.3d 632, 640–43 (7th Cir. 2011). Courts can adjust the loadstar amount (either up or down)

based upon the complexity of the case, the plaintiff’s degree of success, the proportionality of the

lodestar to the damages recovered, and the public interest advanced by the litigation. Schlacher,

574 F.3d at 856-57 (citing Connolly, 177 F.3d at 597); Strange, 129 F.3d at 946.

       However, courts cannot arbitrarily award fees based upon a gut reaction; a court must

provide a clear and concise explanation of its award. Schlacher, 574 F.3d at 857; Small, 264 F.3d

at 708; In re Cont’ll Ill. Sec. Litig., 962 F.3d 566, 570 (7th Cir. 1992). Further, it is inappropriate

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for a court to “eyeball” a fee request and cut it down by an arbitrary percentage because it

seemed excessive. See Schlacher, 574 F.3d at 857; Spellan v. Bd. of Educ., 59 F.3d 642, 646-47

(7th Cir. 1995) (citing Tomazzoli v. Sheedy, 804 F.2d 93, 97 (7th Cir. 1986)).

       Here, the loadstar amount should not be adjusted in any respect because all time spent by

Plaintiff’s counsel litigating this matter was reasonable.

       A.      Plaintiff Achieved Substantial Success In This Matter

       In his lawsuit, Plaintiff alleged, and Defendant ultimately conceded, that Defendant

violated the FLSA by failing to factor-in on-call and shift premiums and non-discretionary

bonuses when determining its employees’ “regular rate” for purposes of determining each

employee’s proper overtime rate of pay for all hours worked in excess of forty (40) hours in a

workweek. (See Bradley Decl., ECF No. 20, ¶ 12; see also Labs Decl., ECF No. 21, ¶ 4.) Indeed,

as stated in the Declaration of Amy Bradley:

               During our audit, we verified that Cash Depot did not factor the
               on-call premiums into the ‘regular rate’ of pay when determining
               how much overtime it owed to the Plaintiff and other field service
               technicians. We also verified that Cash Depot did not factor shift
               premiums or non-discretionary bonuses into the ‘regular rate’ of
               pay and, therefore, failed to pay overtime on such payments.

(Bradley Decl., ECF No. 20, ¶ 12.)

       As a result of these conceded violations, Defendant determined Plaintiff was owed a total

of $380.76 and provided him with a check in that amount (less tax withholdings). (Id. at ¶¶ 16-

20; Motion to Dismiss, ECF No. 18, p. 2.) Defendant further determined that it owed its former

and current employees a total of $21,986.47 (including Plaintiff). (Bradley Decl., ¶ 24; Motion to

Dismiss, ECF No. 18, p. 2.) In discovery, Defendant represented that said amount “represents the

potential amount that would have been in controversy if Plaintiff were to be successful in

certifying this matter as a class action.” (Walcheske Decl., ¶ 13; Def. Disc. Resp., ECF No. 35-1,

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Int. Resp. No. 1.) Having been provided with documents demonstrating Defendant’s calculations

and amounts paid, Plaintiff agrees that Defendant did compensate Plaintiff and the putative

collective with said amount as remuneration for wages owed pursuant to the FLSA. (See

Walcheske Decl., ¶ 25.) Thus, Plaintiff achieved substantial success in this matter on behalf of

himself and the putative class/collective.

       B.      This Case Was Sufficiently Complex and Uncertain To Warrant the Time
               Expended In Litigation

       The procedural history of this matter demonstrates the complexity and uncertainty that

was present therein, warranting that necessary time be expended in litigation. Specifically, the

parties had a strenuous dispute regarding proper calculation of the “regular rate.” In an effort to

resolve the same, Plaintiff’s counsel devoted significant time to reviewing payroll and time

records produced by Defendant, conducting calculations, and communicating with Defendant’s

counsel. (See id. at ¶¶ 16-18.) When the parties could not reach a resolution on this dispute,

Defendant filed its Motions to Lift the Temporary Stay of Proceedings, (ECF No. 16), to Dismiss

on Mootness Grounds, (ECF No. 17), and for Summary Judgment, (ECF No. 22), against

Plaintiff, requiring the expenditure of additional, significant time to respond to the same.

       Even after the Court resolved the dispute between the parties, Plaintiff’s counsel had to

review Defendant’s pay records relating to its payments to Plaintiff and the putative

class/collective to ensure payment was proper. (See Walcheske Decl., ¶¶ 22, 25.) Thereafter,

Plaintiff’s counsel intentionally devoted almost no time whatsoever to litigating the matter, in an

effort to expediently resolve the same. When it again became clear that the parties could not

reach a resolution to this matter, Plaintiff’s counsel was compelled to file its present Motion.




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       Given the strenuous dispute between the parties and the litigation efforts in which they

engaged, this matter was demonstrably complex and uncertain, warranting the amount of time

Plaintiff’s counsel devoted to litigating the same.

       D.      Litigating Meritorious FLSA and WWPCL                     Cases,   Regardless   of
               Proportionality, Advances the Public Interest

       When deciding whether to adjust the lodestar amount, courts can also consider the

proportionality of the lodestar to the damages recovered, Spegon, 175 F.3d at 558, and the public

interests advanced by the litigation. Schlacher, 574 F.3d at 856-57 (citing Connolly, 177 F.3d at

597); Strange, 129 F.3d at 946.

       The Seventh Circuit has “‘rejected the notion that the fees must be calculated

proportionally to damages.’” Anderson v. AB Painting and Sandblasting Inc., 578 F.3d 542, 545

(7th Cir. 2009) (quoting Alexander v. Gerhardt Enterprises, Inc., 40 F.3d 187, 194 (7th Cir.

1994)). “To hold otherwise would in reality prevent individuals with relatively small claims from

effectively enforcing their rights.” Hodgson v. Miller Brewing Co., 457 F.2d 221, 228-29 (7th

Cir. 1972). And, “‘[g]iven the nature of claims under the FLSA, it is not uncommon that

attorneys fee requests will exceed the amount of the judgment in the case.’” Heder v. City of Two

Rivers, 255 F. Supp. 2d 947, 956 (E.D. Wis. 2003 (collecting cases)).

       Thus, simply because the attorneys’ fees in this case exceed Plaintiff’s and the putative

class/collective’s monetary recovery does not mean that this Court must necessarily reduce the

amount to be awarded. To the contrary, arbitrarily adjusting the figure downward would work

against the very reason Congress enacted 29 U.S.C. § 216.

       For example, in Ustrak, and when awarding $21,000 in attorneys’ fees despite only a

$1,001 recovery in a civil rights lawsuit, the Seventh Circuit stated:




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               … [T]he value of Ustrak’s victory cannot be gauged by the modest size of
               the damages awarded. A judicial decision that finds a violation of
               constitutional rights and punishes the perpetrator with an award of
               punitive damages not only vindicates constitutional principles but is a
               deterrent to future violations, to the benefit not only of the plaintiff but of
               others in similar situations. See, e.g., Aubin v. Fudala, 782 F.2d 287, 291
               (1st Cir.1986); Lenard v. Argento, supra, 808 F.2d at 1248. If these were
               not permissible considerations, no attorney's fees could be awarded in a
               case where the plaintiff obtained only nominal damages. That is not the
               law. See, e.g., Williams v. Mensey, 785 F.2d 631, 640 (8th Cir.1986).

               Once it is determined that civil rights claims of small cash value
               nevertheless have enough social value to warrant litigation, it follows that
               attorney’s fees awards will sometimes exceed the damages awards in such
               cases—and the Supreme Court therefore has held that the damage award is
               not a ceiling on the fee award. City of Riverside v. Rivera, 477 U.S. 561,
               106 S.Ct. 2686, 91 L.Ed.2d 466 (1986). …

Ustrak, 851 F.2d at 989.

       Similarly, in this case, this Court should not reduce the loadstar amount simply because

Plaintiff’s reasonable attorneys’ fees ($49,730.00) and costs ($407.04) expended in litigating this

matter exceeded Plaintiff’s and that putative class/collective’s amount recovered ($21,986.47).

       Indeed, the purpose of 29 U.S.C. § 216 provides an incentive for attorneys to take cases

like these, knowing the presiding court will award prevailing parties with reimbursement for

reasonable attorneys’ fees and costs. See Anderson, 578 F.3d at 545 (stating that “[f]ee-shifting

provisions signal Congress’ intent that violations of particular laws be punished, and not just

large violations that would already be checked through the incentives the American Rule”).

Otherwise, a court’s reduction of otherwise reasonable attorneys’ fees and costs sought on behalf

of a prevailing plaintiff would contravene Congress’ intent under the FLSA and encourage

defendants to engage in protracted and inefficient litigation.




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                                         Conclusion

       For the reasons stated herein, Plaintiff respectfully requests that this Court award him

reasonable attorneys’ fees in the total amount of $49,730.00 and reasonable costs in the amount

of $407.04.


              Dated this 20th day of June, 2018.

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